      Case 2:09-cr-00223-TLN Document 139 Filed 12/12/13 Page 1 of 3


1    DENNIS S. WAKS, BAR #142581
     Attorney at Law
2    455 Capitol Mall, Suite 350
     Sacramento, California 95814
3    Tel: (916) 498-9871 Fax: (916) 441-6553
     denniswaks@gmail.com
4
     Attorney for Defendant
5    KHAMLE KEOVILAY
6
7
                              IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                   )   Case No. CR. S-09-223-TLN
11                                               )
                                Plaintiff,       )   AMENDED STIPULATION AND ORDER
12                                               )   TO CONTINUE STATUS CONFERENCE
     v.                                          )
13                                               )   Date: January 9, 2014
     KHAMLE KEOVILAY,                            )   Time: 9:30 a.m.
14                                               )   Judge: Hon. TROY L. NUNLEY
                                Defendant.       )
15                                               )
                                                 )
16
17          It is hereby stipulated and agreed to by the United States of America through HEICO P.
18   COPPOLA, Assistant United States Attorney, and defendant, KHAMLE KEOVILAY, by and
19
     though his counsel, DENNIS S. WAKS, that the status conference set for December 12, 2013,
20
     be continued to a status conference on Thursday, January 9, 2014, at 9:30 a.m. This continuance
21
     is being requested because defense counsel needs additional time to prepare, to review discovery,
22
23   and to interview witnesses. The parties have received a large amount of discovery, including

24   Title III documents.
25          Furthermore, the parties stipulate and agree that the interest of justice served by granting
26
     this continuance outweigh the best interest of the public and the defendant in a speedy trial (18
27
     U.S.C. §3161(h)(7)(A)). Speedy trial time is to be excluded from the date of this order through
28

                                                      -1-
      Case 2:09-cr-00223-TLN Document 139 Filed 12/12/13 Page 2 of 3


1    the date of the status conference set for January 9, 2014, pursuant to 18 U.S.C. § 3161
2    (h)(7)(B)(iv) [reasonable time to prepare] (Local Code T4).
3
     DATED: December 10, 2013
4
                                                   Respectfully submitted,
5
6                                                  /s/ Dennis S. Waks
7                                                  DENNIS S. WAKS
                                                   Attorney for Defendant
8                                                  KHAMLE KEOVILAY
9
10
     DATED: December 10, 2013
11                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
12
13                                                 /s/ Dennis S. Waks for
14                                                 HEICO P. COPOLA
                                                   Assistant U.S. Attorney
15
16
17                                               ORDER
18             Based on the stipulation of the parties and good cause appearing therefrom, the Court
19   hereby finds that the failure to grant a continuance in this case would deny defense counsel
20
     reasonable time necessary for effective preparation, taking into account the exercise of due
21
     diligence. The Court specifically finds that the ends of justice served by the granting of such
22
     continuance outweigh the interests of the public and the defendant in a speedy trial. Based on
23
     these findings and pursuant to the stipulation of the parties, the Court hereby adopts the
24
25   stipulation of the parties in its entirety as its order. Time is excluded from computation of time

26   within which the trial of this matter must be commenced beginning from the date of the

27   stipulation through and including January 9, 2014, pursuant to 18 U.S.C. § 3161(h)(7)(A) and
28   (B)(iv) [reasonable time for defense counsel to prepare] and Local Code T4. A new status
                                                     -2-
      Case 2:09-cr-00223-TLN Document 139 Filed 12/12/13 Page 3 of 3


1    conference date is hereby set for January 9, 2014, at 9:30 a.m.
2
3
     DATED: December 11, 2013
4
5                                                           Troy L. Nunley
                                                            United States District Judge
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     -3-
